11

12

13

14

15

16

17_.

18

19

20

21

22

23

24

25

26

27

28

 

 

se 5:15-cv-02533-ODW-DTB Document 1 Filed 12/11/15 Page 1 of 3 Page |D #:1

Charles R. Messer (SBN 101094)
messerc emt_law._com
David J._ <ammsl<l (SBN 128509)
kaminskld@cmt|aw.com
Tamar Gabrrel (SBN: 266860) /
abrielt c.mtlaw.com
ARLS N & MESSER LLP _
5959 W. Century Boul_eval'd, Sulte 1214
L,os An eles, Califorma 90045
310 2 2-2200 Telephone
310 242-2222 Facslmile

Attol'neys for Del`erldant,
COLLECTO, INC., dba, EOS CCA

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISON

JOEL MOLINA, CASE NO.
Plaintiff,
Vs. NOTICE OF REMOVAL
SSII&PECTO, INC., dba, EOS
Defendant.

 

DEFENDANT’S NOTICE OF REMOVAL
Defendant COLLECTO, INC., dba EOS CCA (“Defendant”) hereby files
this notice of removal under 28 U.S.C. §l446(a).

INTRODUCTION
l. Defendant is COLLECTO, INC., dba EOS CCA. Plaintiff is JOEL
MOLINA (“Plaintiff").
2. Upon information and belief, Plaintiff initially filed this case on

Septernber 25, 2015, in the Superior Court of California, County of San

(00041718',1] 1

NOTICE OF REMOVAL
08322.00

 

Cziaise 5:15-cv-02533-ODW-DTB Document 1 Filed 12/11/15 Page 2 of 3 Page |D #:2

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Bernardino, Limited Jurisdiction, Case No. CIVD51513968. A true and correct
copy of Plaintiff’s Complaint is attached hereto as Exhibit “A.”

3. On November 12, 2015, Defendant Was served With the copy of
Plaintiff’s Complaint.

4. As Defendant received Plaintiff’s Complaint on November 12, 2015,
Defendant files this notice of removal Within the 30-day time period required by
28 U.S.C. §l446(b), and as extended via FRCP 6. See Wells v. Gateways Hosp.
& Mental Health Ctr., 1996 U.S. App. LEXIS 2287 at *2 (9th Cir. Cal. Jan. 30,
1966)

A. BASIS FOR REMOVAL

5. Removal is proper because Plaintiff’s Complaint involves a federal
question. 28 U.S.C. §§1331, 1441(b); Long v. Bando Mfg. ofAm., ]nc., 201 F.3d
754, 757-58 (6th Cir. 2000); Peters v. Um`on Pac. R.R., 80 F.3d 257, 260 (8th
Cir. 1996.) Specifically, Plaintiff has alleged claims that arise under 15 U.S.C. §
1692, et Seq. for alleged violations ofthe Fair Debt Collection Practices Act. lt
is therefore an action of Which this Court has original jurisdiction under 28
U.S.C. § 1331, and may be removed to this Court by Defendant pursuant to the
provisions of 28 U.S.C. § 1441(a). This Court also has supplemental jurisdiction
over Plaintiff’s state claims pursuant to 28 U.S.C. § 1367.

6. Venue is proper in this district under 28 U.S.C. §l44l(a) because this
district and division embrace the place Where the removed action has been
pending.

7. Defendant Will promptly file a copy ofthis notice of removal With the
clerk ofthe state court Where the action has been pending.

B. JURY DEMAND
8. Plaintiff demands a jury in the state court action. Defendant also

demands a jury trial.

///

{00041713;1) 2

NOTICE OF REMOVAL
08322.00

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

§1692, et seq.

DATED: December 11, 2015

(00041718;|)

 

08322.00

se 5:15-cv-02533-ODW-DTB Document 1 Filed 12/11/15 Page 3 of 3 Page |D #:3

C. CONCLUSION

9. Defendant respectfully requests removal of this action as it involves

a Federal question under the Fair Debt Collection Practices Act, 15 U.S.C.

CARLSON & MESSER LLP

By: /S/ Tamar Gabriel
Charles R. Messer
David J. Kaminski
Tamar Gabriel
Attome S for Defendant,
COLL *CTO, INC. dba EOS CCA

3

NOTICE OF REMOVAL

 

